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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.
                                            Crim. No. 17-201-1 (ABJ)
 PAUL J. MANAFORT, JR.,

               Defendant.


        GOVERNMENT’S MOTION FOR LEAVE TO FILE RESPONSE
 TO MANAFORT’S FILING ON THE COURT’S TO ORDER TO SHOW CAUSE AND
        TO UNSEAL DOCUMENT PREVIOUSLY FILED UNDER SEAL

       The United States of America, by and through Special Counsel Robert S. Mueller, III,

respectfully moves (1) for leave to file a response to defendant Manafort’s filing (ECF#79) on the

Court’s December 5, 2017 Order to Show Cause; and (2) to unseal the Declaration of Special

Agent Brock Domin and accompanying exhibits (ECF#72-1), which were previously filed under

seal with leave of the Court. In support of the requested relief, the government avers as follows:

       On December 4, 2017, the government filed its opposition to Manafort’s motion to modify

his conditions of release, explaining that it could no longer agree to the proposed bail package

because it had recently learned that Manafort was taking part in drafting an op-ed that was to be

published in the English-language Kyiv Post. ECF#73 at 1-4. On December 5, 2017, this Court

entered a Minute Order requiring Manafort to show cause “why he has not violated the Court’s

Order [of] November 8, 2017,” and allowing him to combine that response with his reply in support

of bail-modification motion. Manafort filed that response on December 7. On the same day, the

op-ed piece at issue was published online in the Kyiv Post.

       The government has not had the opportunity to address the arguments raised by Manafort

in his filing. We believe that the attached factual and legal submission will be useful to the Court
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in assessing Manafort’s motion to modify his conditions of release and in determining whether the

Order to Show Cause has been discharged.

       With its December 4 filing, the government filed under seal (with the leave of the Court)

a Declaration of Special Agent Brock Domin with two supporting exhibits. As we noted, the

government submitted those documents under seal to avoid the op-ed’s becoming public and

thereby avert the very harm that the government’s filing—and the Court’s November 8 Order—

was designed to thwart. See ECF#72. Because the op-ed has now been published, the reasons for

sealing the declaration have been rendered moot, and we submit that public docketing of those

materials is appropriate.

       Accordingly, the government requests that the Court (1) grant it leave to file the attached

response and (2) unseal the Declaration of Special Agent Domin and accompanying exhibits

(ECF#72-1). Counsel for Manafort does not consent to the filing of the attached response and has

not taken a position on the unsealing request. A proposed order accompanies this motion.

                                                    Respectfully submitted,

                                                    ROBERT S. MUELLER III
                                                    Special Counsel

Dated: December 8, 2017                     By:     __/s/__Andrew Weissmann___
                                                    Andrew Weissmann
                                                    Greg D. Andres (D.D.C. Bar No. 459221)
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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA

              v.
                                                 Crim. No. 17-201-1 (ABJ)
 PAUL J. MANAFORT, JR.,

               Defendant.


                                            ORDER

       This matter having come before the Court pursuant to the government’s motion for leave

to file a response to defendant Manafort’s filing (ECF#79) on the Court’s December 5, 2017 Order

to Show Cause and to unseal a document (ECF#72-1) previously filed under seal, it is hereby

       ORDERED that the government’s motion is GRANTED;

       IT IS FURTHER ORDERED that the government is granted leave to file its response to

defendant Manafort’s filing (ECF#79); and

       IT IS FURTHER ORDERED that the Clerk shall unseal and place on the public docket the

Declaration of Special Agent Domin and accompanying exhibits (ECF#72-1).



________________                            __________________________________
Date                                        HON. AMY BERMAN JACKSON
                                            UNITED STATES DISTRICT JUDGE
